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     William E. Bonham, SB# 55478
 1   Attorney at Law
     Hotel de France Bldg., Old Sacramento
 2   916 Second Street, 2nd Floor, Ste. A
     Sacramento, California 95814
 3   Telephone: (916) 557-1113
     Facsimile: (916) 557-1118
 4   Email: billbonham@mylaw.comcastbiz.net
 5   Attorney for: Rae Leonard YOUNG
 6
 7             IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,              )       Case No: 2:09-cr-500-KJM
12                                          )
13                      Plaintiff,          )       STIPULATION AND ORDER
                                            )       TO CONTINUE STATUS
14
                  v.                        )       CONFERENCE
15                                          )
16
     Rae Leonard YOUNG                      )
                                            )
17                      Defendants.         )
18                                          )
19
20         The defendant Rae L. Young through his undersigned counsel, and the
21
     United States, through its undersigned counsel, hereby agree and request the
22
23   Status Conference currently set for Thursday, June 16, 2011 at 10:00 am be
24
     vacated and continued until Thursday, June 30, 2011 at 10:00 am.
25
26         Plea negotiations have taken place and a tentative plea offer has been
27   discussed. Defense counsel is still receiving further letters in support of
28



                                                1
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 1   mitigation under § 3553 factors to submit to the government for consideration and
 2   is involved with ongoing discussions with his client as to further plea negotiations.
 3
           The parties also stipulate that time should be excluded under the Speedy
 4
 5   Trial Act due to the needs of counsel for continued case preparation and ongoing
 6
     plea and sentencing negotiations. Local Code T4 & 18 U.S.C § 3161
 7
 8   (h)(7)(B)(iv).
 9
           I, William E. Bonham, the filing party, have received authorization from
10
11   AUSA Jason Hitt to sign and submit this stipulation and proposed order on his
12
     behalf.
13
14         Accordingly, the defense and the United States agree and stipulate that the

15   Status Conference for defendant Rae L. Young should be continued until
16
     Thursday, June 30, 2011 at 10:00 am. The parties stipulate that the ends of justice
17
18   served by granting this continuance outweigh the best interests of the public and
19
     defendant in a Speedy Trial. 18 U.S.C. § 3161(h)(7)(A).
20
21   Dated: June 14, 2011
                                                   BENJAMIN B. WAGNER
22
                                                   United States Attorney
23
24                                                 By:/s/ WILLIAM E. BONHAM for
                                                   JASON HITT
25
                                                   Assistant U.S. Attorney
26
27
28



                                               2
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 1
 2   Dated: June 14, 2011
 3
                                                   By:/s/ WILLIAM E. BONHAM for
 4
                                                   WILLIAM E. BONHAM
 5                                                 Counsel for Defendant
 6                                                 Rae Leonard YOUNG
 7
                                           ORDER
 8
 9
           IT IS SO ORDERED, the Status Conference for defendant Rae L. Young

10   currently set for Thursday, June 16, 2011 at 10:00 a.m. is vacated and reset for
11
     Thursday, June 30, 2011 at 10:00 a.m.
12
13         I find that the continuance is necessary due to the needs of counsel for
14
     continued case preparation and plea/sentencing negotiations. Accordingly, time is
15
16   excluded under the Speedy Trial Act, due to needs of counsel for additional case
17
     preparation and ongoing plea/ sentencing negotiations, from June 16, 2011 up to
18
19   and including June 30, 2011 pursuant to Local Code T4 and 18 U.S.C. §
20   3161(h)(7)(B)(iv). I find that the ends of justice served by granting this
21
22
     continuance outweigh the best interest of the public and defendant in a speedy

23   trial. 18 U.S.C. § 3161(h) (7)(A).
24
     Dated: June 15, 2011.
25
26
                                              UNITED STATES DISTRICT JUDGE
27
28



                                               3
